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                      UN ITED STA TES D ISTR ICT C O URT
                      SO U TH ER N D ISTR ICT OF FLO RIDA

                        CA SE N O .1:18-CV -21230-CIV -JLK

 RAM ON DEL V ALLE,

       Plaintiff,



 KIR STJEN N IELSEN ,
 Secretary ofHomelandSecurity eta1.,
       Defendants.


           O R DER D EN YIN G D EFENDA NTS'M O TIO N TO DISM ISS

       TH IS M A TTER com es before the Courtupon D efendants'M otion to D ism iss

 (DE #21),tlled on June 4,2018,seeking to dismissPlaintiffs ComplaintforDe Novo
 Naturalization and/orDeclaratory Judgment (DE //1). Plaintiff filed his Response in
 Opposition (DE #22) on June18,2018,and Defendants fled theirReply (DE #25) on
 June 25,2018. On July 12,2018,Plaintifffiled an U nopposed M otion forSupplem ental

 Briefing (DE #27) regarding Pereira v.Sessions, 138 S.Ct.2105 (2018),a Supreme
 Courtopinion issued on June 21,2018. The Courtgranted the m otion on August9,2018

 (DE //28). Plaintifffiled a SupplementalOpposition to Defendants'M otion to Dismiss
 (DE #29)on August9,2018;and Defendantsfiled a SupplementalBriefin Support(DE
 #30)onAugust17,2018.Accordingly,thismatterisripefordisposition.
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                                    BA CK G R O UND

       PlaintiffemigratedtotheUnited Statesfrom Cubaattheageoffive(DE #1,! 16;
 DE #1-4),and hasbeen a lawfulpermanentresident($;LPR'')ofthe United Statessince
 January 11,1965(DE #1,! 17).OnJanuary 21,1981,Plaintiffwasconvictedin theUS
 District Court for the Southern D istrict of Florida for Gsknow ingly and intentionally

 importing into the United States a controlled substance,''specifically marijuana,in
 violationof21U.S.C.j952(a)and960(a)(1),and 18U.S.C j2(DE #1-4).
       On Septem ber 1,2016,Plaintiff filed an Application for N aturalization w ith the

 United StatesCitizenship and Immigration Services($iUSC1S'')under8 U.S.C.j 1427
 (DE #1,! 21). He appeared forhisnaturalization interview and examination on January
 9,2017 (DE #1,! 25). The USCIS is required to adjudicate or schedule a second
 interview for an Application forN aturalization within 120 days ofthe firstinterview . 8

 C.F.R.j335.3(a).M oreover:
       dklfthereisafailuretomakeadeterminationunder(j)1446beforetheend
       ofthe 120-day period aherthe date on w hich the exam ination is conducted
       under such section,the applicant m ay apply to the United States district
       court for the district in w hich the applicant resides for a hearing on the
       matter. Such court has jurisdiction over the matter and may either
       determ ine the m atter orrem and the m atter,w ith appropriate instructions,to
       the Service to determ inethe m atter.''

 8U.S.C.j 1447(b).
       (ûon or aboutM arch 31,2018,'5DelV alle received in the m aila N otice to Appear

 (û$NTA'')in rem ovalproceedings from USCIS (DE #1,T 38). The NTA alleged asthe
 basis for removal Plaintifps criminalconviction from 1981 (DE #1-4). On April2,
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 2018--448 days afterhis interview fornaturalization- plaintiffhad received no response

 from the USCIS,and filed hisComplaintwith the Courtpursuantto 8 U.S.C.j 1447(b)
 (DE #1,! 36). A superseding NTA filed with the ExecutiveOffice forImmigration
 Review (d$EO1R'')on May 25,2018,chargedPlaintiffwith being removablepursuantto 8
 U.S.C.237(a)(2)(A)(iii) as an aggravated felon, and 8 U.S.C.237(a)(2)(B)(i) as a
 controlledsubstanceviolator(DE //21,at2).
                                  LEGA L STA N DA RD

       Defendantsmoveto dismisspursuanttoFederalRulesofCivilProcedure12(b)(1)
 forlackofsubject-matterjurisdiction and 12(b)(6)forfailureto statea claim on which
 reliefcan begranted.A motion to dismissunderRule 12(b)(1)may attackjurisdiction
 facially orfactually. M orrison v.d/awtzp Corp.,323 F.3d 920,924 n.5 (11th Cir.2003).
                                         .



 Facial attacks direquire the courtm erely to look and see if the plaintiff has sufticiently

 alleged a basisofsubjectmatterjurisdiction ...and aplaintiffisafforded safeguards
 similarto those provided in opposing a Rule 12(b)(6)motion- the courtmustconsider
 the allegations ofthe com plaintto be true.'' Lawrence v.D unbar,919 F.2d 1525, 1529

 (11th Cir.1990).
       To survive a Rule 12(b)(6)motion to dismiss,acomplaintmustinclude dienough
 facts to state a claim to reliefthat is plausible on its face.'' #e//W//.Corp.v.Twom bly,

 550 U.S.544,570 (2007). ç$A claim has facialplausibility when the plaintiffpleads
 factualcontentthatallow sthe courtto draw the reasonable inference thatthe defendantis

 liable for the m isconduct alleged.'' Ashcro.ft v. Iqbal, 556 U.S.662, 663 (2009).
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 Allegations absentsupporting factsare notentitled to thispresum ption ofveracity. 1d.at

 681. W hen evaluating a m otion to dism iss, the Courtm ust take a1l of the w ell-pled

 factualallegationsas true.1d.at664. How ever,'dthreadbare recitals ofthe elem ents of a

 cause of action, supported by m ere conclusory statem ents,do not suffice.''1d. at 663.

 The Courtm ustdism iss acom plaintthatdoes notpresenta plausible claim dem onstrating

 entitlem entto relief.

                                     D ISCU SSIO N

       Defendants argue that 8 U.S.C. j 1429 prohibits the Court from considering

 '
 Plaintiffsnaturalization application under 8 U .S.C.j 1447(b).      1429 states that Sdno

 application for naturalization shall be considered by the A ttorney General if there is

 pending againstthe applicanta rem ovalproceeding pursuantto a w arrantofarrestissued

 undertheprovisionsofthischapteror any A ct.'' Federalcourtsthroughoutthe U .S.have

 ruled on the interaction betw een the tw o provisions,but there is no precedent on-point

 thatisbinding on the Court.

       The U .S.CourtofAppeals forthe Eleventh Circuithas stressed the im portance of

 looking to the plain m eaning of the text itself w hen interpreting statutes. See Silva-

 Hernandez v.USCIS,701F.3d 356,361(1lth Cir.2012).Courts'smustbegin,and often
 should end as well, with the language of the statute itself.''1d. (quoting Harry
 Marchant,291F.3d 767,770 (11th Cir.2002)(en bancj). M oreover,tsltlhose who ask
 courts to give effect to perceived legislative intent by intem reting statutory language

 contrary to its plain and unam biguous m eaning are in effect asking courts to alter that
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 language,and courts have no authority to alter statutory language ...cannot add to the

 terms ofthe provision whatCongressleftout.'' 1d.(quoting CBS Inc.v.Primetime 24
 JointVenture,245F.3d 1217,1228(11th Cir.2001)).
        Theplain m eaning ofthetextof8U.S.C.j 1429 isthattheprovision restrictsthe
 Attorney G eneral,but does nothing to restrict U .S.District Courts. For exam ple, the

 provision does not say, ççN o application for naturalization shall be considered,'' but

 speciically goes on to listthe Attorney G eneral. In contrast,the im m ediately preceding

 clause of j 1429 states that i$(N1o person shall be naturalized against whom there is
 outstanding a final Gnding of deportability''; it does not go on to list the A ttorney
 General, U .S.D istrictCourts,orany otherentity.1 The Courthasno authority to read the

 nextprovision of the statute,the one at issue here,in a w ay that disregards the direct

 qualiier,ûlby the A ttorney General.'' A rgum ents raised by D efendants againstthis basic

 pointare unpersuasive.2

        Defendantsarguethelegislativehistory establishesthatj 1429 wasenacted to end
 theracethathistorically existed between naturalization and removal(DE //21,at3-4;DE
 lThefullprovision reads:
        $k(Nqo person shallbe naturalized againstwhom there isoutstanding a finalfinding of
        deportability pursuantto a warrantofarrestissued undertheprovisionsofthischapteror
        any other Act;and no application for naturalization shallbe considered by the Attorney
        General if there is pending against the applicant a removal proceeding pursuant to a
        warrantofarrestissuedundertheprovisionsofthischapterorany otherAct(.)''
 8LJ.S,C.j 1429.
 2Plaintiff's SupplementalOpposition to Defendants'M otion to Dism iss argues thatPereira v.Sessions,
 l38S.Ct,2105 (2018),issuedonJune 21,dsclarifiesthatremovalproceedingshavenotbeen commenced
 against M r.DeIValle and thus robs Defendants' M otion to Dism iss of both a factualbasis and legal
 merit''(DE #29,atl).Pereira specificallyheldthataNoticetoAppearthatdoesnotspecifythetimeand
 placeofthe initialremovalproceeding,asrequired by 8 U.S.C.j l229(a)(1)(G)(i),doesnottriggerthe
 stop-timerule under8 U.S.C.j 1229b(d)(1),which referencesj 1229(a). However,the Courtneed not
 decide today whetherPereira's holding appliesto Noticesto Appearm ore broadly than with respectto
 the stop-tim erule.
                                                 5
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     1/25, at 4-5). Indeed, j 1429 prioritizes removal proceedings over naturalization
     proceedings,which are both now prim arily conducted within the executive branch. But,

     as clearly written, this priority does not encompass review by U .S. D istrict Courts.

     Instead,C'lwjhen Congressamended j 1429 (in 19902,itchose to replace Snaturalization
     court'with kAttorney General,'lmmigration Actof1990,j407(d)(3).'' Yith v.Nelson,
     881F.3d 1155,1164-65(9thCir.2018).SsNothinginthe1990amendmentssuggeststhat
     Congress intended to preserve the 1952 act's bar on a district court naturalizing

     applicants while rem oval proceedings are pending,and Congress's decision to rem ove

     theprovision suggestsitw anted to end such a bar.''1d.at1162.

           Defendants also argue thatthe phrase çtfailure to make a determination''in j
     1447(b)should only apply to casesofexecutivedelay,and notwhen removalispending
     (DE #21,at3-4;DE #25,at4). Plaintiffsrespond that'sltlhisconclusion defiescommon
     usage ofilfailure''and thus lacks persuasive value''(DE #22,at 14). Forexample,the
     plain language reading oftifailure''encom passessituations where ikthe failure w ascaused

     by the person's self-sabotage or other intentional efforts to m ake it im possible to

     accomplish the goal.'' Yith,881F.3d at 1162. Regardless,ifj 1429 only appliesto çlthe

     Attorney General,''as itplainly states,there is no need to parse the m eaning of dlfailure''

     inj 1447(b).
           Finally,there is nothing in either statute that suggests that the D istrict Court's

     authority cannotbe greaterthan thatoftheAttorney General(DE //21,at5;DE #25,at3-
     4), lndeed,the textof j 1429 suggests the opposite,in that the Attorney General's
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 authority is proscribed by nam e in the statute when a rem ovalproceeding is pending,

 whereas the DistrictCourt's authority is not. W e end where w e began,atthe statutory

 text.SeeH arry,29 1F.3d at770.

                                   CO NC LU SIO N

         As 8 U.S.C.j 1429 doesnotbarthe Courtfrom hearing this case,Plaintiffs
 Complaint should not be dism issed. Therefore,it is O RD ER ED, AD JU DG ED ,and

 DECREED that Defendants' M otion to Dismiss (DE #21) is hereby DENIED.
 Defendants SHALL file theirAnswer to the Complaintwithin twenty (20)days ofthe
 date ofthisorder.

         D O NE and O R DERED in Cham bersatthe Jam esLawrence K ing FederalJustice
 Building and United States Courthouse in M iam i,Florida,on this 21stday ofSeptem ber,

 2018.




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                                          M ES LA W REN CE K IN G
                                           ITED STATES DISTRICT JU

 cc:     A Ilcounselofrecord
